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                                              June 29, 2023



VIA ECF

Hon. Paul G. Gardephe
United States District Judge
Thurgood Marshall U.S. Courthouse
40 Foley Square, Room 705
New York, NY 10007

RE: Sullivan v. Hwang et al., Case No. 1:22-cv-05675 (PGG)

Dear Judge Gardephe:

        I write on behalf of Plaintiff Brendan Sullivan, and pursuant to Rule IV of Your Honor’s
Individual Rules of Practice supplement Plaintiff’s prior pre-motion letter addressing arguments
raised by the Defendants regarding potential motions to dismiss. (ECF No. 108). Defendants
have previously raised challenges to Plaintiff’s domicile for the purposes of establishing diversity
jurisdiction. (See ECF No. 105, n.1). In response, Plaintiff indicated that he was willing to submit
a declaration and supporting documentation demonstrating by clear and convincing evidence of
his residence in Tennessee and intention to remain there in order to establish domicile in
Tennessee. (ECF No. 108, n.7). On the Court’s request, filed alongside this letter is the
Declaration of Brendan Sullivan (the “Declaration”), along with supporting documentation,
establishing Plaintiff’s domicile in Tennessee. The Declaration establishes by clear and
convincing evidence that the Plaintiff was a Tennessee domiciliary as of the date this action was
commenced and intends to remain there. See Reynolds v. Wohl., 332 F.Supp.2d 653, 659
(S.D.N.Y. 2004) (finding the documentation provided established by clear and convincing
evidence that the plaintiff was diverse of all parties as of the filing of the lawsuit).

                                              Sincerely,

                                             BROWN RUDNICK LLP




                                             Richard E. Darst

cc: All Counsel, via ECF
